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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 21-cv-60168-ALTMAN/Hunt

  MARK MESSINA, et al.,

          Plaintiffs,
  v.

  CITY OF FORT LAUDERDALE, FLORIDA
  a Florida municipal corporation,

        Defendant.
  _________________________________________/

                                 AMENDED SCHEDULING ORDER

          On June 13, 2022, the Defendant filed an Unopposed Motion to be Excused from a Portion

  of the Trial Docket [ECF No. 95] (the “Motion”). The Motion is DENIED AS MOOT because the

  Court will reschedule the trial as follows. 1

          THIS MATTER is set for trial during the Court’s two-week trial calendar beginning on

  October 11, 2022. Counsel for all parties shall also appear at a calendar call at 1:45 p.m. on October

  4, 2022. Unless instructed otherwise by subsequent order, the trial and all other proceedings in this

  case shall be conducted in Courtroom 207A at the U.S. Courthouse, 299 E. Broward Boulevard, Fort

  Lauderdale, Florida.

          DONE AND ORDERED in Fort Lauderdale, Florida, this 22nd day of June 2022.




                                                        _________________________________
                                                        ROY K. ALTMAN
                                                        UNITED STATES DISTRICT JUDGE

  cc:     counsel of record


  1
   The prior scheduling order shall remain in place to the extent not addressed in this Amended
  Scheduling Order.
